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                      EXHIBIT A

              Proposed Sale Notice Order




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                            Chapter 11
    In re:
                                                            Case No. 24-12752
    Yield10 Bioscience, Inc., et al.,
                                                            (Joint Administration Requested)
                                               1
                                    Debtors.



                     ORDER (A) APPROVING FORM AND MANNER OF
                   NOTICES AND (B) SCHEDULING A SALE HEARING AND
                ESTABLISHING DATES AND DEADLINES RELATED THERETO

             Upon the motion (the “Motion”) of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”) for entry of an order (this “Sale Notice Order”), (a)

approving the Debtors' proposed form of notice of the hearing to approve the proposed sale of

substantially all of the Debtors' assets (the “Sale Hearing”) and (b) scheduling the Sale Hearing

and certain dates and deadlines related thereto, all as more fully set forth in the Motion; and upon

the First Day Declaration; and this Court having jurisdiction over this matter pursuant to 28

U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the United States

District Court for the District of Delaware, dated February 29, 2012; and this Court having found

that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2), and that this Court may enter a

final order consistent with Article III of the United States Constitution; and this Court having

found that venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C.

§§ 1408 and 1409; and this Court having found that the relief requested in the Motion is in the

best interests of the Debtors, their estates, their creditors, and other parties in interest; and this

Court having found that notice of and opportunity for a hearing on the Motion were appropriate


1
  The last four digits of the taxpayer identification numbers of the Debtors follow in parentheses: (i) Yield10 (x
8289); (ii) Securities Corp. (x7435) and (ii) Oilseeds (Canadian Business No.x9469).


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under the circumstances and no other notice need be provided; and this Court having reviewed

the Motion and having heard the testimony of the Debtors’ representatives and the statements of

counsel in support of the relief requested therein at a hearing before this Court (the “Hearing”);

and this Court having determined that the legal and factual bases set forth in the Motion and at

the Hearing establish just cause for the relief granted herein; and upon all of the proceedings had

before this Court; and after due deliberation and sufficient cause appearing therefor, it is

HEREBY ORDERED THAT:

         1.     The Motion is granted as set forth herein. Capitalized terms not otherwise

defined herein shall have the meanings ascribed to them in the Motion.

         2.     All objections to the Motion or the relief provided herein that have not been

withdrawn, waived, or settled, and all reservations of rights included therein, hereby are

overruled and denied on the merits.

         3.     The Debtors may sell the Purchased Assets and enter into the transactions

contemplated by the Asset Purchase Agreement by conducting a private sale in accordance with

Bankruptcy Rule 6004(f).

         4.     The Sale Hearing shall be held before this Court on January [__], 2025, at

__:00 _.m. (prevailing Eastern Time), or at such earlier date as counsel and interested parties

may be heard.

         5.     Objections, if any, to the sale of the Purchased Assets and the transactions

contemplated by the Asset Purchase Agreement, or the relief requested in the Motion must: (a)

be in writing; (b) conform to the applicable provisions of the Bankruptcy Rules and the Local

Rules; (c) state with particularity the legal and factual basis for the objection and the specific

grounds therefor; and (d) be filed with the clerk of the Bankruptcy Court for the District of


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Delaware, Third Floor, 824 Market Street, Wilmington, Delaware 19801 and served on: (i)

proposed counsel to the Debtors, The Rosner Law Group LLC, 824 Market Street, Suite 810

Wilmington, Delaware 19801, Attn.: Frederick B. Rosner and Zhao (Ruby) Liu

liu@teamrosner.com; (ii) counsel to the Buyer, K & L Gates, LLP, 301 Hillsborough Street,

Suite     1200,    Raleigh,    North    Carolina    27603,    attn.:   A.     Lee   Hogewood     III,

a.lee.hogewoodiii@klgates.com and (c) the Office of the United States Trustee, 844 King Street,

Suite 2207, Lockbox 35, Wilmington, Delaware 19801, attn.: Richard Schepacarter on or before

4:00 p.m. (prevailing Eastern Time) on January [___], 2025 (the “Sale Objection

Deadline”).

         6.       On or before three (3) business days after entry of this Sale Notice Order, the

Debtors will cause the notice, substantially in the form attached hereto as Exhibit 1 (the "Sale

Notice") to be sent to the Notice Parties including specifically the Counter-Parties to the

Contracts. The Sale Hearing may be adjourned, from time to time, without further notice to

creditors or other parties in interest other than by announcement of said adjournment before this

Court on the date scheduled for such hearing or in the hearing agenda for such hearing.

         6.       The stays provided for in Bankruptcy Rules 6004(h) and 6006(d) are hereby

waived and this Sale Notice Order shall be effective immediately upon its entry.

         7.       All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).

         8.       The Debtors are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order in accordance with the Motion.

         9.       This Court retains jurisdiction with respect to all matters arising from or related

to the implementation, interpretation, and enforcement of this Order.


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                     EXHIBIT 1

             Proposed Form of Sale Notice




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                            Chapter 11
    In re:
                                                            Case No. 24-12752
    Yield10 Bioscience, Inc., et al.,
                                                            (Joint Administration Requested)
                                               1
                                    Debtors.



NOTICE OF HEARING TO APPROVE (A) PROPOSED SALE OF ASSETS FREE AND
   CLEAR OF ALL LIENS, CLAIMS, ENCUMBRANCES, AND INTERESTS, (B)
    ASSUMPTION AND ASSIGNMENT OF EXECUTORY CONTRACTS AND
 UNEXPRED LEASES, (C) GRANT BUYER PROTECTIONS AFFORDED TO GOOD
        FAITH PURCHASER, AND (D) GRANTING RELATED RELIEF

         PLEASE TAKE NOTICE THAT on December 6, 2024, the above-captioned debtors
and debtors in possession (collectively, the “Debtors”) filed the attached Motion of the Debtors
for the Entry of (I) an Order (A) Approving Form and Manner of Notices and (B) Scheduling a
Sale Hearing and Establishing Dates and Deadlines Related Thereto; and (II) an Order (A)
Authorizing the Sale of Substantially All of the Debtors' Assets Free and Clear of All Liens,
Claims, Encumbrances, and Other Interests, (B) Granting the Purchaser the Protections
Afforded to a Good Faith Purchaser, and (C) Granting Related Relief (the “Sale Motion”) with
the United States Bankruptcy Court for the District of Delaware (the “Court”) seeking entry of
an order, substantially in the form attached as Exhibit B to the Sale Motion (the “Sale Order”):
(a)(i) authorizing the sale of substantially all of the Debtors' assets (such assets, collectively, the
“Purchased Assets”) to Nuseed Nutritional US Inc. (the "Buyer") free and clear of all liens,
claims, encumbrances, and other interests, pursuant to that certain Asset Purchase Agreement
between the Debtors and the Buyer substantially in the form attached as Exhibit 1 to the Sale
Order and (ii) authorizing the form of notice for the Sale and the assumption and assignment of
executory contracts and unexpired leases (collectively, the "Contracts") pursuant to the APA, (b)
granting the Buyer the protections afforded to a good faith purchaser pursuant to section 363(m)
of the Bankruptcy Code, and (c) granting certain related relief. Please note that all capitalized
terms used but not defined herein shall have the meanings set forth in the Sale Motion.

                                  Sale Hearing and Objections to Sale

       PLEASE TAKE FURTHER NOTICE THAT the Debtors will seek approval of the
Sale Motion and approval of procedures for the assumption and assignment of Contracts at a
hearing scheduled to commence on January [•], 2025, at [___], prevailing Eastern Time, (the
“Sale Hearing”) before the Honorable [_______] in the United States Bankruptcy Court for the

1
  The last four digits of the taxpayer identification numbers of the Debtors follow in parentheses: (i) Yield10 (x
8289); (ii) Securities Corp. (x7435) and (ii) Oilseeds (Canadian Business No.x9469).



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District of Delaware, located at 824 Market Street, Fifth Floor, Courtroom No. [___],
Wilmington, Delaware 19801.

       PLEASE TAKE FURTHER NOTICE THAT, at the Sale Hearing, the Debtors will
seek approval of the Asset Purchase Agreement, pursuant to which the Debtors propose to sell
substantially all of their assets to the Buyer, and approval of procedures pursuant to which the
Debtors intend to assume and assign to the Buyer certain Contracts and unexpired lease(s).

        PLEASE TAKE FURTHER NOTICE THAT objections to the sale of the Purchased
Assets or approval of the procedures for the assumption and assignment of Contracts, if any,
must: (a) be in writing; (b) conform to the applicable provisions of the Bankruptcy Rules and
the Local Rules; (c) state with particularity the legal and factual basis for the objection and the
specific grounds therefor; and (d) be filed with the Court and served on the following parties
(the “Notice Parties”), in each case on or before January [•], 2025, at 4:00 p.m., prevailing
Eastern Time (the “Sale Objection Deadline”):
             Counsel to the Debtors                            Counsel to the Buyer
           The Rosner Law Group LLC                               K & L Gates LLP
                 824 Market Street                      301 Hillsborough Street, Suite 1200
                     Suite 810                             Raleigh, North Carolina 27603
              Wilmington, DE 19801                           Attn: A. Lee Hogewood III
  Attn.: Frederick B. Rosner & Zhao (Ruby) Liu            a.lee.hogewoodiii@klgates.com
    R      P t D hl d G OfficeFofPthe United States Trustee
                                Office of the United States Trustee
                                          844 King Street
                                            Suite 2207
                                            Lockbox 35
                                   Wilmington, Delaware 19801
                                   Attn.: Richard Schepacarter

        PLEASE TAKE FURTHER NOTICE THAT a list of the proposed Contracts to
assumed and assigned to Nuseed together with Cure Amounts is attached hereto as Schedule A.
Any objection to the proposed assumption and assignment of any Contract or any Cure Amount
with respect thereto must: (a) be in writing; (b) conform to the applicable provisions of the
Bankruptcy Rules and the Local Rules; (c) state with particularity the legal and factual basis for
the objection and the specific grounds therefor; and (d) be filed with the Court and served on the
Notice Parties on or before the Sale Objection Deadline.
        PLEASE TAKE FURTHER NOTICE THAT any Assumed Contract subject to an
objection with respect to the Debtors’ proposed assumption and assignment of such Assumed
Contract and/or the proposed Cure Amount with respect thereto that is not resolved at or prior to
or during the Sale Hearing shall not be assumed by the Debtors and assigned to the Purchaser
until such objection is resolved by agreement of the parties or further order of the Court.

     PLEASE TAKE FURTHER NOTICE THAT YOU ARE RECEIVING THIS
SALE NOTICE BECAUSE YOU ARE A CREDITOR OR CONTRACT
COUNTERPARTY OF THE DEBTORS, OR OTHERWISE HAVE BEEN IDENTIFIED
BY THE DEBTORS AS AN ENTITY WITH A PARTICULARIZED INTEREST IN THE
SALE HEARING, AND THAT ANY PARTY OR ENTITY WHO FAILS TO TIMELY

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MAKE AN OBJECTION TO THE SALE ON OR BEFORE THE SALE OBJECTION
DEADLINE IN ACCORDANCE WITH THE SALE MOTION SHALL BE FOREVER
BARRED FROM ASSERTING ANY OBJECTION TO THE SALE, INCLUDING WITH
RESPECT TO THE TRANSFER OF THE DEBTORS' ASSETS FREE AND CLEAR OF
ALL LIENS, CLAIMS, ENCUMBRANCES, AND OTHER INTERESTS, EXCEPT AS
SET FORTH IN THE APA.

Dated: December __. 2024                     THE ROSNER LAW GROUP LLC
       Wilmington, Delaware
                                             /s/ Frederick B. Rosner
                                             Frederick B. Rosner (DE #3995)
                                             Zhao (Ruby) Liu, Esq. (DE 6436)
                                             824 N. Market Street, Suite 810
                                             Wilmington, Delaware 19801
                                             Telephone: (302) 777-1111
                                             rosner@teamrosner.com
                                             liu@teamrosner.com

                                             Proposed Counsel to Debtors and Debtors in
                                             Possession




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                                                                SCHEDULE A
                                                                Cure Amounts


 Debtor Entity                              Counterparty                          Contracts Description                    Cure Amount
Yield10          A.G.P. / Alliance Global Partners                                                                       $0
Bioscience,      Kareem Ali
Inc.             590 Madison Ave., 28th Floor | New York, NY 10022               Mutual Confidentiality
                 kali@allianceg.com | www.allianceg.com                          Agreement                  11/10/2023
Yield10          AdFarm US Inc.                                                                                          $0
Bioscience,      Ally Bosch
Inc.             140 Quarry Park Blvd SE, Suite 130 Calgary, AB T2C 3G3
                 ally.bosch@adfarm.com                                           Confidential Disclosure
                                                                                 Agreement                  06/16/2022
Yield10          Ag-Quest Holdings Ltd.                                                                                  $0
Bioscience,      Dana Maxwell, P.Ag., BSc. (Ag), MSc.
Inc.             President & CEO
                 Director of Plant Genetics Services
                 Ag-Quest Inc.
                 Box 144, Minto, Manitoba R0K 1M0                                2023-24 Field Experiment
                 dana.maxwell@agquest.com                                        Plan                       08/15/2023
Yield10                                                                                                                  $0
Bioscience,                                                                      Master Services
Inc.             Ag-Quest Holdings Ltd.                                          Agreement                  09/22/2022
Yield10                                                                                                                  $0
Bioscience,                                                                      Confidential Disclosure
Inc.             Ag-Quest Holdings Ltd.                                          Agreement                  10/20/2021
Yield10          AgraServ, LLC                                                                                           $0
Bioscience,      Steve Bergsten
Inc.             AgraServ, LLC
                 2565 Freedom Lane                                               2024 Field Experiment
                 American Falls, ID 83211                                        Plan                       04/24/2024
Yield10                                                                                                                  $0
Bioscience,                                                                      Master Services
Inc.             AgraServ, LLC                                                   Agreement                  08/23/2023
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 Debtor Entity                             Counterparty                          Contracts Description                    Cure Amount
Yield10                                                                                                                 $0
Bioscience,                                                                    Work Order | 2024 Field
Inc.             AgraServ, LLC                                                 Experiment Plan             04/22/2024
Yield10          AgriThority LLC                                                                                        $0
Bioscience,      TONY PARDO
Inc.             Global Director, Client Services
                 11125 N. Ambassador Dr., Ste. 120
                 Kansas City, Missouri, 64153, USA                             Master Services
                 tony.pardo@agrithority.com                                    Agreement                   08/22/2023
Yield10                                                                                                                 $0
Bioscience,                                                                    Work Order | 2024 Spring
Inc.             AgriThority LLC                                               Camelina Trials             04/29/2024
Yield10                                                                                                                 $0
Bioscience,                                                                    Mutual Confidential
Inc.             AgriThority LLC                                               Disclosure Agreement        06/16/2021
Yield10          American Airlines, Inc.                                                                                $0
Bioscience,      Tom Opderbeck
Inc.             Senior Manager, Sustainability
                 Tom.Opderbeck@aa.com                                          Mutual Non-disclosure
                                                                               Agreement                   12/15/2022
Yield10          Analome Inc                                                                                            $0
Bioscience,      David Kovalic
Inc.             91 Washington Avenue,                                         Confidential Disclosure
                 St. Louis, Missouri 63101                                     Agreement                   06/25/2021
Yield10          APAGROU SAS                                                                                            $0
Bioscience,      Carlos Rubione
Inc.             Yi 1445, Piso 3. CP11100 Montivideo, Montivideo               Confidentiality Agreement
                 Oriential del Uruguay – RUT218987240019                       - Appendix                  08/22/2022
Yield10          Archer-Daniels-Midland Company (ADM)                                                                   $0
Bioscience,      Austin Williams
Inc.             Austin.williams@adm.com                                       Confidentiality Agreement   08/03/2022
Yield10                                                                                                                 $0
Bioscience,                                                                    Confidential Disclosure
Inc.             ARE-MA Region No. 20, LLC                                     Agreement                   12/04/2023
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 Debtor Entity                             Counterparty                              Contracts Description                    Cure Amount
Yield10          Ash Creek Renewables LLC.                                                                                  $0
Bioscience,      John Cusick, CEO
Inc.             Ash Creek Renewables
                 175 Rennell Drive, Southport CT, 06890                            Confidential Disclosure
                 E: jc@ashcreekrenewables.com                                      Agreement                   08/31/2022
Yield10          Atmospheric and Environmental Research, Inc. (AER)                                                         $0
Bioscience,      Guy Seeley, President
Inc.             131 Hartwell Avenue
                 Lexington, MA 02421
                 Contact: Ned Snell, Executive Vp                                  Confidential Disclosure
                 hsnell@AER.com                                                    Agreement                   03/08/2023
Yield10                                                                            Confidential Disclosure                  $0
Bioscience,                                                                        Agreement | Amendment
Inc.             Atmospheric and Environmental Research, Inc. (AER)                1                           05/05/2023
Yield10          Bartlett and Company, LP                                                                                   $0
Bioscience,      Simon Buckner
Inc.             4900 Main Street – Suite 1200
                 Kansas City, MO 64112
                                                                                   Confidentiality Agreement   08/26/2022
Yield10          BASF Agricultural Solutions Seed US LLC                                                                    $0
Bioscience,      Scott Peoples
Inc.             Postal Address: BASF Corporation, P.O. Box 12014
                 2 TW Alexander Drive, Research Triangle Park, 27709, USA
                 E-Mail: scott.peoples@basf.com                                    Materials Transfer
                                                                                   Agreement                   02/29/2024
Yield10                                                                                                                     $0
Bioscience,
Inc.             BASF Agricultural Solutions Seed US LLC                           Confidentiality Agreement   05/20/2023
Yield10                                                                                                                     $0
Bioscience,                                                                        Confidentiality Agreement
Inc.             BASF Agricultural Solutions Seed US LLC                           - Amendment 1               05/20/2024
Yield10          Bayer CropScience LP (BCS)                                                                                 $0
Bioscience,      Kara Isaak                                                        Mutual Non-disclosure
Inc.             Global Biofuel Strategy Lead                                      Agreement                   01/05/2024
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Debtor Entity                                     Counterparty                               Contracts Description                   Cure Amount
                    Bayer U.S. LLC
                    Crop Science Division
                    Strategy & Sustainability
                    800 N Lindbergh Blvd.
                    Creve Coeur, MO 63167 USA
                    E-mail: Kara.isaak@bayer.com
Yield10             BP Products North America Inc.                                                                                  $0
Bioscience,         Barrett Barr
Inc.
                    barrett.barr@bp.com
                                                                                           Confidentiality Agreement   06/04/2024
Yield10             Bunge North America, Inc                                                                                        $0
Bioscience,         Louis Copeland
Inc.
                    luis.copeland@bunge.com                                                Confidentiality Agreement   10/03/2022
Yield10             Camelina Company Espana S.L.                                                                                    $0
Bioscience,         Yuri Herreras Yambanis, Director
Inc.                                                                                       Confidential Disclosure
                    Yuri.herreras@camelinacompany.es                                       Agreement                   02/25/2021
Yield10             Campbell Farms & Livestock LLC                                                                                  $0
Bioscience,         Jeff Campbell
Inc.                4588 Bailey Road,                                                      Yield10 Camelina
                    Arbon, Idaho 83212                                                     Stewardship Management
                    jcfarms@gmail.com                                                      Program 1                   04/30/2024
Yield10             CAMSTAR, INC.                                                                                                   $0
Bioscience,         Ron Schlenske
Inc.                PO Box 2671                                                            Confidential Disclosure
                    Bigfork, MT 59911                                                      Agreement                   02/01/2022
Yield10             Canaccord Genuity LLC                                                                                           $0
Bioscience,         Marc Marano, Managing Director
Inc.                Canaccord Genuity LLC
                    99 High Street, Boston, MA 02110                                       Confidential Disclosure
                                                                                           Agreement                   06/10/2024


    1
        This contract will be excluded from the Assumed Payables calculation.
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Debtor Entity                           Counterparty                             Contracts Description                 Cure Amount
                mmarano@cgf.com

Yield10         Canary Biofuels, Inc.                                                                                 $0
Bioscience,     George Wadsworth
Inc.                                                                           Confidential Disclosure
                408, 322 11th Ave SW, Calgary, AB T2RoC5, Alberta, Canada      Agreement                 10/21/2021
Yield10         Canopy Growth Corporation                                                                             $0
Bioscience,     Christelle Gedeon
Inc.            Chief Legal Officer                                            Mutual Non-disclosure
                candice.bellamy@keyleaf.ca                                     Agreement                 10/31/2023
Yield10         Canpressco                                                                                            $0
Bioscience,     Trenna Derdall, President
Inc.            626 Balmoral St., Saskatoon, SK., S7K0Y7
                Email: trenna@canpressco.com                                   Confidential Disclosure
                                                                               Agreement                 03/19/2024
Yield10                                                                                                               $0
Bioscience,                                                                    Mutual Confidentiality
Inc.            Cargill, Incorporated                                          Agreement                 10/13/2023
Yield10         Cargill, Incorporated                                                                                 $0
Bioscience,
Inc.            David VandenEinde, VP GEOS Global R&D lead
                15407 McGinty Road West,
                Wayzata, MN 55391                                              Mutual Confidentiality
                Abhishek_Bhardwaj@cargill.com                                  Agreement                 01/19/2024
Yield10                                                                                                               $0
Bioscience,                                                                    Mutual Confidentiality
Inc.            Cargill, Incorporated                                          Agreement                 07/14/2022
Yield10         CBIZ MHM, LLC                                                                                         $0
Bioscience,     Michael O’Day, Managing Director                               Confidential Disclosure
Inc.            500 Boylston Street, Boston, MA 02116                          Agreement                 08/15/2022
Yield10         Cermaq Group AS                                                                                       $0
Bioscience,     Dronning Eufemias Gate 16, PO Box 144 Sentrum
Inc.            0102 Oslo, Norway
                Olai.einen@cermaq.com                                          Confidential Disclosure
                                                                               Agreement                 11/14/2023
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 Debtor Entity                             Counterparty                            Contracts Description                  Cure Amount
Yield10          CGB Enterprises, Inc.                                                                                  $0
Bioscience,      Kaleb Belzer
Inc.             CGB Enterprises, Inc.
                 1127 Highway 190, East Service Road
                 Covington, LA 70433                                             Confidential Disclosure
                 kaleb.belzer@CGB.com                                            Agreement                 01/23/2024
Yield10                                                                                                                 $0
Bioscience,                                                                      Confidential Disclosure
Inc.             Critereon Company, LLC - 401K Plan related                      Agreement                 11/21/2022
Yield10          Delek US Energy, Inc.                                                                                  $0
Bioscience,      Chad Schramek
Inc.             Sr. Director, Strategic Business Development
                 Delek Companies
                 12700 Park Central Drive
                 Suite 700
                 Dallas, TX 75251                                                Confidential Disclosure
                 Chad.Schramek@delekus.com                                       Agreement                 01/23/2023
Yield10          Deveron UAS Corp.                                                                                      $0
Bioscience,      Karla Jackson Suite 200, 82 Richmond Street East
Inc.             Toronto, On M5C 1P1, Canada                                     Confidential Disclosure
                 KJackson@deveron.com                                            Agreement                 06/05/2020
Yield10          DSM Nutritional Products, LLC,                                                                         $0
Bioscience,      555 Rolling Hills Ln, Winchester, KY 40391
Inc.             Christopher Stowers, Sen Dir Biotechnology
                 Ross Zirkle Ph.D.
                 Director Biotechnology Scouting
                 6480 Dobbin Road
                 Columbia Maryland 2104                                          Materials Transfer
                 Ross.Zirkle@dsm-firmenich.com                                   Agreement                 01/10/2024
Yield10                                                                                                                 $0
Bioscience,                                                                      Mutual Confidentiality
Inc.             DSM Nutritional Products, LLC                                   Agreement                 11/13/2023
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 Debtor Entity                             Counterparty                              Contracts Description                    Cure Amount
Yield10          Duane Johnson (Clearskies Biolubricants, Inc.)                                                             $0
Bioscience,      113 Obrien Terrace, Bigfork, MT 59911, USA                        Confidential Disclosure
Inc.             newcropper@outlook.com                                            Agreement                   10/07/2019
Yield10          Elementa Foods                                                                                             $0
Bioscience,      Pedro Terrado – SeniorManager,
Inc.             pterrado@elementafoods.com                                        Confidential Disclosure
                                                                                   Agreement                   12/19/2023
Yield10                                                                                                                     $0
Bioscience,                                                                        Materials Transfer
Inc.             ENEOS Corporation                                                 Agreement                   04/12/2023
Yield10                                                                                                                     $0
Bioscience,      ENEOS Corporation                                                 Confidential Disclosure
Inc.             hisao.okuyama@eneosusa.com                                        Agreement                   02/03/2023
Yield10          Evogene Ltd.                                                                                               $0
Bioscience,      Eyal Ronen
Inc.             13 Gad Feinstein St., Rehovot, Israel                             Confidential Disclosure
                 eyal.ronen@evogene.com>                                           Agreement                   01/10/2024
Yield10          Exxon Mobil Corporation                                                                                    $0
Bioscience,      EMHC, 22777 Springwoods Village Parkway
Inc.             Spring, Texas 77389
                 Attention Anant Patel
                 Anant.v.patel@exxonmobil.com

                 Chris Honsberger, Global Lead Bio-Feed Origination - AG
                 chris.d.honsberger@exxonmobil.com
                                                                                   Confidentiality Agreement   03/23/2023
Yield10                                                                                                                     $0
Bioscience,
Inc.             ExxonMobil Technology and Engineering Company                     Confidentiality Agreement   03/15/2024
Yield10          Farmer's Business Network, Inc.                                                                            $0
Bioscience,      Matthew Meisner
Inc.             VP of R&D
                 388 El Camino Real                                                Non-disclosure
                 San Carlos, CA 94070                                              Agreement                   09/08/2021
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Debtor Entity                            Counterparty                              Contracts Description                  Cure Amount
                legal@farmersbusinessnetwork.com

Yield10                                                                                                                  $0
Bioscience,                                                                      2023-24 Field Experiment
Inc.            G2 Ag Research LLC                                               Plan                       08/15/2023
Yield10         G2 Ag Research LLC                                                                                       $0
Bioscience,     2429 Harold Drive
Inc.            Idaho Falls, ID 83402                                            Master Services
                Corey_Dixon@G2AgResearch.com                                     Agreement                  08/22/2023
Yield10         GDM Argentina S.A                                                                                        $0
Bioscience,     Manuel Mihura
Inc.            Strategy and New Business Director
                mmihura@gdmseeds.com
                Monseñor Magliano 3061
                San Isidro, Buenos Aires, B1642GLA, Argentina                    Confidential Disclosure
                gdmseeds.com                                                     Agreement                  02/26/2024
Yield10                                                                          First Amendment To The                  $0
Bioscience,                                                                      Research License
Inc.            GDM Seeds                                                        Agreement                  09/05/2023
Yield10                                                                                                                  $0
Bioscience,
Inc.            GDM Seeds                                                        ARM Full Bundle License    10/13/2023
Yield10         GENEWIZ, LLC                                                                                             $0
Bioscience,     115 Corporate Drive South, Plainfield, NJ 07080
Inc.            Denise Hoppaugh, Director Finance and Procurement                Mutual Nondisclosure
                Denise.hoppaugh@brooks.com                                       Agreement                  09/22/2021
Yield10         Global Agricultural Development Corporation                                                              $0
Bioscience,     219 East Chatham Street, Suite 200, Cary NC 27511                Confidential Disclosure
Inc.            VP Business Development                                          Agreement                  02/12/2020
Yield10         HATCH Blue Holding Ltd                                                                                   $0
Bioscience,     Carsten Krome, Managing Partner                                  Confidential Disclosure
Inc.            carsten@hatch.blue                                               Agreement                  11/15/2023
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 Debtor Entity                             Counterparty                                 Contracts Description                    Cure Amount
Yield10          Hawaii Agriculture Research Center                                                                            $0
Bioscience,      PO Box 100, Kunia, HI 96759                                           Confidential Disclosure
Inc.             Stephanie Whalen, Executive Director                                  Agreement                  10/06/2022
Yield10                                                                                                                        $0
Bioscience,                                                                            2023-24 Field Experiment
Inc.             ICMS                                                                  Plan                       09/08/2023
Yield10          ICMS                                                                                                          $0
Bioscience,      Box 67, Station Main, Saskatchewan Ave. E., Portage la Prairie, MB,
Inc.             Canada, R1N 3B2
                 Luanne Anderson
                 ICMS, Inc.                                                            Master Services
                 anderson@icms-inc.com                                                 Agreement                  09/05/2023
Yield10          Innovation Saskatchewan                                                                                       $0
Bioscience,      Paula Ghiglione
Inc.             Innovation Saskatchewan
                 Business Development Manager
                 210 – 15 Innovation Boulevard
                 Saskatoon, SK S7N 2X8
                 paula.ghiglione@innovationsask.ca                                     Gross Sublease             11/19/2024
Yield10                                                                                                                        $0
Bioscience,                                                                            Confidential Disclosure
Inc.             Jeremy Scott Tax Law                                                  Agreement                  09/08/2023
Yield10          Joseph Gunnar & Co. LLC                                                                                       $0
Bioscience,      30 Broad Street, 11th Floor, New York, NY 1004                        Confidential Disclosure
Inc.             Stephanie Stein                                                       Agreement                  08/26/2022
Yield10          KayJay Ag Services                                                                                            $0
Bioscience,      Aaron Carlson
Inc.             KayJay Ag Services, Inc.
                 5351 County Road 81 S.
                 Horace, ND 58047                                                      Master Services
                 e: Aaron.Carlson@kayjayag.com                                         Agreement                  04/22/2024
Yield10                                                                                                                        $0
Bioscience,                                                                            Work Order | 2024 Field
Inc.             KayJay Ag Services                                                    Experiment Plan            04/22/2024
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 Debtor Entity                            Counterparty                            Contracts Description                  Cure Amount
Yield10          KD Pharma Group SA                                                                                    $0
Bioscience,      Via Campagna 30, 6934 Bioggio, Switzerland
Inc.             Robert Fronzoni, R&D Manager
                 roberto.fronzoni@kdpharmagroup.com                             Confidential Disclosure
                                                                                Agreement                 11/03/2023
Yield10          Knoell USA, LLC                                                                                       $0
Bioscience,      Sally Feeley
Inc.             General Manager
                 Christy Drive
                 Suite 102
                 Chadds Ford, PA 19317, USA                                     Non-disclosure
                 info@knoellusa.com                                             Agreement                 09/22/2022
Yield10          Koch Engineered Solutions LLC.                                                                        $0
Bioscience,      4111 E 37th St N., Wichita, Kansas 67220
Inc.             Jason Bootsma, Manager, Transformative Technology R&D          Confidential Disclosure
                 jason.bootsma@kes.global                                       Agreement                 11/08/2021
Yield10          KWS SAAT SE & Co. KGaA                                                                                $0
Bioscience,      Henrik Hagemann, Project Manager
Inc.                                                                            Confidential Disclosure
                 henrik.hagemann@kws.com
                                                                                Agreement                 02/13/2020
Yield10          Lake Street Capital Markets, LLC                                                                      $0
Bioscience,      John Baumgartner | Head of Capital Markets
Inc.             Lake Street Capital Markets, LLC
                 920 Second Avenue South, Suite 700 | Minneapolis, MN 55402     Mutual Confidentiality
                 E: john.baumgartner@lakestreetcm.com                           Agreement                 08/26/2023
Yield10          LG Chem, Ltd.                                                                                         $0
Bioscience,      LG Twin Towers, 128, Yeoui-daero, Yeongdeungpo-gu, Seoul,
Inc.             07336, Republic of Korea                                       Mutual Non-disclosure
                 Hak Cheol (H.C.) Shin, CEO (Chief Executive Officer)           Agreement                 02/06/2023
Yield10          Louis Dreyfus Company LLC                                                                             $0
Bioscience,      Max Clegg, Head of New Company Ventures                        Mutual Non-disclosure
Inc.                                                                            And Confidentiality
                 40 Danbury Road, Wilton, CT 06897
                                                                                Agreement                 06/12/2024
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Debtor Entity                             Counterparty                            Contracts Description                 Cure Amount
                MAX.CLEGG@ldc.com

Yield10         Marcum LLP                                                                                             $0
Bioscience,     10 Melville Park Road,
Inc.            Melvillle, New York, 11747                                      Non-disclosure
                Atn: General Council                                            Agreement                 02/19/2024
Yield10         Maxim Group LLC                                                                                        $0
Bioscience,     Joseph Daneshgar
Inc.            Senior Vice President | Investment Banking
                Maxim Group LLC
                300 Park Avenue, 16th Floor
                New York, NY 10022                                              Non-Disclosure
                jdaneshgar@maximgrp.com                                         Agreement                 11/06/2023
Yield10                                                                                                                $0
Bioscience,     Mazars USA LLP                                                  Mutual Nondisclosure
Inc.            135 West 50th Street, New York, NY10020                         Agreement                 02/19/2024
Yield10         Millborn Seeds, Inc.                                                                                   $0
Bioscience,     David Kiesner, Director of Business Development
Inc.            2132 32ND AVE. BROOKINGS, SD 57006                              Confidential Disclosure
                davidk@millbornseeds.com                                        Agreement                 09/26/2022
Yield10         Minister of Agriculture and Agri-Food (AAFC)                                                           $0
Bioscience,     Keith Hanson,                                                   Non-Exclusive License for
Inc.            keith.hanson@agr.gc.ca                                          a Plant Variety           01/27/2020
Yield10                                                                         Amendment No. 1 To                     $0
Bioscience,                                                                     Variety Licencing
Inc.            Minister of Agriculture and Agri-Food (AAFC)                    Agreement                 03/24/2021
Yield10                                                                                                                $0
Bioscience,                                                                     Material Transfer
Inc.            Minister of Agriculture and Agri-Food (AAFC)                    Agreement                 04/08/2022
Yield10                                                                                                                $0
Bioscience,                                                                     Material Transfer
Inc.            Minister of Agriculture and Agri-Food (AAFC)                    Agreement                 02/01/2020
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 Debtor Entity                                Counterparty                            Contracts Description                   Cure Amount
Yield10                                                                                                                     $0
Bioscience,                                                                         Standard Material
Inc.             Minister of Agriculture and Agri-Food (AAFC)                       Transfer Agreement         02/12/2024
Yield10          Mitsubishi Corporation (Americas)                                                                          $0
Bioscience,      Yoshitaka Miyake
Inc.             Manager, Renewable Fuels Project Development                       Four-way Confidentiality
                 Mitsubishi International Corporation                               And Non-disclosure
                 yoshitaka.miyake@mitsubishicorp.com                                Agreement                  09/08/2023
Yield10          Mitsui & Co. (U.S.A.), Inc.                                                                                $0
Bioscience,      Romi Mahdi
Inc.             Sr. Business Development Manager, Energy Dept. | Mitsui &
                 Co.(U.S.A.),Inc.
                 1300 Post Oak Blvd Suite 1700 Houston TX 77056                     Mutual Non-disclosure
                 R.madhi@mitsui.com                                                 Agreement                  04/10/2024
Yield10                                                                                                                     $0
Bioscience,                                                                         Material Transfer
Inc.             National Research Council of Canada (NRC)                          Agreement                  11/18/2021
Yield10          Nissui Corporation                                                                                         $0
Bioscience,      SEKIGUCHI Takayoshi
Inc.             Central Research Laboratory
                 Nissui Corporation
                 1-32-3 Nanakuni, Hachioji, Tokyo
                 192-0991 JAPAN                                                     Confidential Disclosure
                 takayoshi_sekiguchi@nissui.co.jp                                   Agreement                  03/07/2024
Yield10          North Dakota State University                                                                              $0
Bioscience,      Professor Marisol Berti
Inc.                                                                                Confidential Disclosure
                 marisol.berti@ndsu.edu
                                                                                    Agreement                  04/18/2024
Yield10          NorthStar Genetics                                                                                         $0
Bioscience,      41103 MacDonald Rd, 6E, Domain, Manitoba                           Confidential Disclosure
Inc.             Travis Williams, VEO                                               Agreement                  08/17/2022
Yield10                                                                                                                     $0
Bioscience,
Inc.             Nuseed Nutritional US Inc.                                         License Agreement          07/12/2024
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 Debtor Entity                                Counterparty                         Contracts Description                    Cure Amount
Yield10                                                                                                                   $0
Bioscience,
Inc.             Nuseed Nutritional US Inc.                                      Confidentiality Agreement   01/12/2024
Yield10                                                                                                                   $0
Bioscience,                                                                      Confidential Disclosure
Inc.             Nutreco                                                         Agreement                   09/27/2023
Yield10                                                                                                                   $0
Bioscience,                                                                      Confidential Disclosure
Inc.             Nyrasta LLC                                                     Agreement                   11/03/2021
Yield10          Par Pacific Holdings, Inc.                                                                               $0
Bioscience,      Jon Auerbach, VP Renewables
Inc.                                                                             Confidential Disclosure
                 JAuerbach@parpacific.com
                                                                                 Agreement                   05/02/2023
Yield10          Peaker Energy Group, LLC                                                                                 $0
Bioscience,      10011 West Gulf Bank Road Ste B.
Inc.             Houston, TX 77040                                               Confidential Disclosure
                 Matthew Joitis                                                  Agreement                   01/12/2021
Yield10                                                                                                                   $0
Bioscience,                                                                      2023-24 Field Experiment
Inc.             Performance Crop Research, LLC                                  Plan                        08/17/2023
Yield10                                                                                                                   $0
Bioscience,                                                                      Master Services
Inc.             Performance Crop Research, LLC                                  Agreement                   08/23/2023
Yield10          Petro-Lubricant Testing Laboratories, Inc.                                                               $0
Bioscience,      116 Sunset Inn Road, P.O. Box 300 Lafayette, NJ 07848
Inc.                                                                             Materials Transfer
                 Josiaah Wintermute
                                                                                 Agreement                   12/22/2021
Yield10                                                                                                                   $0
Bioscience,                                                                      Confidential Disclosure
Inc.             Petro-Lubricant Testing Laboratories, Inc.                      Agreement                 12/21/2021
Yield10          Platform Genetics Inc.                                          Framework Agreement On                   $0
Bioscience,      Dr. Michael Pautler                                             The Provision Of Contract
Inc.             Head of Genomics Services                                       Services                  04/25/2022
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Debtor Entity                                  Counterparty                                  Contracts Description                  Cure Amount
                    4890 Victoria Avenue North, Box 4000
                    Vineland Station ON, L0R 2EO
                    Michael.pautler@platformgenetics.ca
Yield10             POS Biosciences Corp.                                                                                          $0
Bioscience,         118 Veterinary Road, Saskatoon, SK S7N 2R4                             Materials Transfer
Inc.                James Shields, Managing Director                                       Agreement                  02/15/2024
Yield10             Regents of the University of Minnesota                                                                         $0
Bioscience,
Inc.                Colin Cureton
                    Director of Adoption and Scaling
                    Forever Green Initiative                                               First Amendment To Plant
                    University of Minnesota                                                Material Testing
                    Cure0012@umn.edu                                                       Agreement                  02/15/2023
Yield10                                                                                    First Amendment To Plant                $0
Bioscience,                                                                                Material Testing
Inc.                Regents of the University of Minnesota                                 Agreement                  02/28/2023
Yield10                                                                                                                            $0
Bioscience,                                                                                Plant Material Testing
Inc.                Regents of the University of Minnesota                                 Agreement                  08/25/2021
Yield10                                                                                                                            $0
Bioscience,                                                                                Plant Material Testing
Inc.                Regents of the University of Minnesota                                 Agreement                  08/27/2021
Yield10                                                                                                                            $0
Bioscience,                                                                                Plant Material Testing
Inc.                Regents of the University of Minnesota                                 Agreement                  08/27/2021
Yield10             Richter LLP – FINANCE TEAM                                                                                     $0
Bioscience,         181 bay Street #3510, Bay Wellington Tower, Toronto On M5J 2T3,        Confidential Disclosure
Inc.                Canada                                                                 Agreement                  03/30/2022
Yield10             Robert Kostek                                                          Yield10 Camelina                        $0
Bioscience,         10850 125th Ave NW, Crosby ND 58730                                    Stewardship Management
Inc.                Kostek58730@yahoo.com                                                  Program 2                  04/19/2024


    2
        This contract will be excluded from the Assumed Payables calculation.
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 Debtor Entity                           Counterparty                                  Contracts Description                    Cure Amount
Yield10          Rothamsted Research Limited                                                                                  $0
Bioscience,      Louise Warren
Inc.             Louise.warren@rothamsted.ac.uk                                      License Agreement           06/12/2024
Yield10                                                                                                                       $0
Bioscience,                                                                          Materials Transfer
Inc.             Rothamsted Research Limited                                         Agreement                   05/03/2022
Yield10                                                                                                                       $0
Bioscience,                                                                          Non-Disclosure
Inc.             Rothamsted Research Limited                                         Agreement                   07/24/2024
Yield10          S&W Seed Company                                                                                             $0
Bioscience,      2101 Ken Pratt Blvd., Suite 201, Longmont, Co 80502
Inc.             Kirk Rolfs, VP Supply Chain

                 Steve Calhoun | Vice President for Research and Development
                 6615 Winfield Ave
                 Lubbock TX 79407                                                    Material Transfer
                 SteveCalhoun@swseedco.com                                           Agreement                   05/11/2021
Yield10          Saskatchewan Conservation Learning Centre (CLC)                                                              $0
Bioscience,      Box 1903 Stn main, Prince Albert, SK S6V 6JN Canada                 2023-24 Field Experiment
Inc.             Robin Lokken, Manager                                               Plan                        08/29/2023
Yield10          SNPsaurus LLC                                                                                                $0
Bioscience,      1892 Fairmount Blvd, Eugene, OR 97403
Inc.             Eric Johnson, Owner                                                 Confidential Disclosure
                 Eric@snpsaurus.com                                                  Agreement                   03/16/2022
Yield10                                                                                                                       $0
Bioscience,                                                                          Confidential Disclosure
Inc.             SNPsaurus LLC                                                       Agreement                   02/07/2022
Yield10          Société des Produits Nestlé SA                                                                               $0
Bioscience,      Av. Nestle 55, CH-1800 Vevey, Switzerland
Inc.             Dr. -Ing. Gerhard Niederreiter
                 Head of Nestle Institute of Packaging Sciences, Nestle Research
                 violette.bourg@rd.nestle.com                                        Confidentiality Agreement   03/03/2022
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 Debtor Entity                              Counterparty                             Contracts Description                   Cure Amount
Yield10          SouthEast Research Farm (SERF)                                                                            $0
Bioscience,      Box 129 Redvers, SK S0C 2HO, Canada
Inc.             Lana Shaw, Executive Director                                      Master Services
                 Lshaw.serf@gmail.com                                               Agreement                 08/29/2023
Yield10          Strategic Vision Consulting Ltd                                                                           $0
Bioscience,      11312 057 Avenue NW, Edmonton, Alberta, Canada T6H 0Z9             Confidential Disclosure
Inc.             Ron Pidsklalny, President                                          Agreement                 03/14/2023
Yield10                                                                                                                    $0
Bioscience,
Inc.             Strategic Vision Consulting Ltd                                    Consulting Agreement      3/31/2023
Yield10          Suntory Holdings Limited                                                                                  $0
Bioscience,      Tamachi Station Tower N, 311 Shibaura, Minato ku, Tokyo, Japan
Inc.
                 Taro Kuzuno, Global Supply Solutions
                 taro.kuzuno@suntory.com
                 Brian Golden, GM of Global Supply Solutions Department             Mutual Confidentiality
                                                                                    Agreement                 05/01/2024
Yield10          Sustainable Oils, Inc.                                                                                    $0
Bioscience,      Mike Karst, President                                              Mutual Non-disclosure
Inc.             Mike.karst@susoils.com                                             Agreement                 01/18/2024
Yield10          The Broad Institute, Inc.                                                                                 $0
Bioscience,      Alba Miranda-Ribera, Ph.D., MBA
Inc.             Senior Licensing Associate - BD&L Transactions
                 Office of Strategic Alliances and Partnering
                 Broad Institute of MIT and Harvard / 75 Ames Street / Cambridge,
                 MA 02142                                                           Mutual Non-disclosure
                 amiranda@broadinstitute.org                                        Agreement                 11/22/2022
Yield10          Thenell & Associates LLC                                                                                  $0
Bioscience,      Scott Thenell                                                      Confidential Disclosure
Inc.             Scott@sthenell.com                                                 Agreement                 11/19/2019
Yield10                                                                                                                    $0
Bioscience,                                                                         Transportation and
Inc.             Tobin Scientific & Sons Moving and Storage, LLC                    Storage Agreement         11/25/2024
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Debtor Entity                            Counterparty                              Contracts Description                 Cure Amount
                Zack Newman
                Account Executive
                tobinscientific.com
                znewman@tobinscientific.com
Yield10                                                                                                                 $0
Bioscience,                                                                      Biorepository Services
Inc.            Tobin Scientific                                                 Agreement                 11/25/2024
Yield10         University of Missouri (Curators of the)                                                                $0
Bioscience,     Samuel E. Bish, Ph.D.
Inc.            Senior Technology Transfer Manager, Life Sciences
                Technology Advancement Office
                1400 Rock Quarry Road | Suite Q180 | Columbia MO 65211           Exclusive License
                bishs@missouri.edu                                               Agreement                 05/17/2018
Yield10                                                                          Exclusive License                      $0
Bioscience,                                                                      Agreement - Amendment
Inc.            University of Missouri (Curators of the)                         1                         04/08/2019
Yield10         University of Nebraska (Board of Regents)                                                               $0
Bioscience,     1400 R St, Lincoln, NE 68588                                     Material Transfer
Inc.            Brad Roth, Assoc. Vice Chancellor for Tech. Development          Agreement                 07/16/2021
Yield10                                                                                                                 $0
Bioscience,                                                                      Confidential Disclosure
Inc.            USDA-ARS-WRRC                                                    Agreement                 04/08/2020
Yield10         vCPO LLC                                                                                                $0
Bioscience,     Gretchen Herault, Principal                                      Confidential Disclosure
Inc.            4 Barilone Circle, Maynard, MA 01754                             Agreement                 02/22/2021
Yield10         Vision Bioenergy Oilseeds LLC                                                                           $0
Bioscience,     Vision Bioenergy Oilseeds LLC
Inc.            2101 Ken Pratt Blvd, Suite 101
                Longmont, CO 80501, USA
                Attention: Brad Chambers, GMM
                Email: brad.chambers@visionbioseeds.com                          License And Service Fee
                                                                                 Agreement                 02/09/2024
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 Debtor Entity                            Counterparty                            Contracts Description                   Cure Amount
Yield10                                                                                                                 $0
Bioscience,                                                                     Stewardship Management
Inc.             Vision Bioenergy Oilseeds LLC                                  Program                    03/13/2024
Yield10                                                                                                                 $0
Bioscience,                                                                     Confidential Disclosure
Inc.             Vision Bioenergy Oilseeds LLC                                  Agreement                  10/11/2023
Yield10          Washington State University                                                                            $0
Bioscience,      JESSY MCGOWAN
Inc.             SENIOR TECHNOLOGY LICENSING ASSOCIATE
                 Office of Commercialization
                 Office of Research
                 Washington State University
                 Email: jessy.mcgowan@wsu.edu                                   Mutual Confidential
                 commercialization.wsu.edu                                      Disclosure Agreement       02/21/2024
Yield10          Western Applied Research Corporation (WARC)                                                            $0
Bioscience,      Box 89 Hwy 374 Scott SK S0K 4A0 SK Canada                      2023-24 Field Experiment
Inc.             Kayla Slind, Acting GM                                         Plan                       08/29/2023
Yield10                                                                                                                 $0
Bioscience,                                                                     Master Services
Inc.             Western Applied Research Corporation (WARC)                    Agreement                  08/29/2023
Yield10                                                                                                                 $0
Bioscience,                                                                     2023-24 Field Experiment
Inc.             Wheatland Conservation Area (WCA)                              Plan                       08/28/2023
Yield10          Wheatland Conservation Area (WCA)                                                                      $0
Bioscience,      Amber Wall, Assistant Manager                                  Master Services
Inc.             PO Box 2015 Swift Current, SK S9H 4M7, Canada                  Agreement                  08/28/2023
Yield10                                                                                                                 $0
Bioscience,      Wincrest Capital                                               Confidential Disclosure
Inc.             5 Pineapple Grove, Nassau, BS                                  Agreement                  08/09/2023
Yield10          Wolf & Co.                                                                                             $0
Bioscience,      Matthew Vaughn, Principal
Inc.             255 State Street, Boston, MA 02109                             Confidential Disclosure
                 mvaughn@wolfandco.com                                          Agreement                  02/05/2024
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 Debtor Entity                            Counterparty                              Contracts Description                   Cure Amount
Yield10          2010282 AB Ltd. (Kerschbaumer)                                                                           $0
Bioscience,      Trevor Kerschbaumer                                              Master Services
Inc.             PO Box 2369, Fairvie, Alberta T0H 1L0, Canada                    Agreement                  09/27/2023
Yield10                                                                                                                   $0
Bioscience,                                                                       Master Services
Inc.             AgGro Innovations LLC                                            Agreement                  11/14/2022
Yield10          Ag-Quest Holdings Ltd.                                                                                   $0
Bioscience,      Ag-Quest Holdings Ltd.
Inc.             Dana Maxwell, P.Ag., BSc. (Ag), MSc.
                 President & CEO
                 Director of Plant Genetics Services
                 Ag-Quest Inc.
                 Box 144, Minto, Manitoba R0K 1M0
                 dana.maxwell@agquest.com
                                                                                  2023 PNT Camelina Trial    04/25/2023
Yield10          AgraServ, LLC                                                                                            $0
Bioscience,      AgraServ, LLC
Inc.             Steve Bergsten
                 AgraServ, LLC
                 2565 Freedom Lane
                 American Falls, ID 83211                                         2021 Camelina Seed &
                 www.agraserv.com                                                 Germplasm Eval             06/15/2021
Yield10                                                                                                                   $0
Bioscience,                                                                       2023-24 Field Experiment
Inc.             AgraServ, LLC                                                    Plan                       07/31/2023
Yield10                                                                                                                   $0
Bioscience,                                                                       Master Services
Inc.             AgraServ, LLC                                                    Agreement                  05/05/2023
Yield10          Conservation Learning Centre (CLC)                                                                       $0
Bioscience,      Saskatchewan Conservation Learning Centre (CLC)
Inc.             Box 1903 Stn main, Prince Albert, SK S6V 6JN Canada              Master Services
                 Robin Lokken, Manager                                            Agreement                  08/29/2023
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 Debtor Entity                            Counterparty                              Contracts Description                   Cure Amount
Yield10          Cropwise Research LLC                                                                                    $0
Bioscience,      Brent Petersen, President and CEO                                Master Services
Inc.             4981 2nd Street SE, St. Cloud, MN 56304, USA                     Agreement                  09/15/2022
Yield10          G2 Ag Research LLC                                                                                       $0
Bioscience,      G2 Ag Research LLC
Inc.             2429 Harold Drive                                                Camelina Germplasm
                 Idaho Falls, ID 83402                                            Evaluation & Herbicide
                 Corey_Dixon@G2AgResearch.com                                     Tolerance Trials           03/20/2021
Yield10                                                                                                                   $0
Bioscience,                                                                       Master Services
Inc.             G2 Ag Research LLC                                               Agreement                  08/29/2022
Yield10          GDM Seeds                                                                                                $0
Bioscience,      GDM Argentina S.A
Inc.             Manuel Mihura
                 Strategy and New Business Director
                 mmihura@gdmseeds.com
                 Monseñor Magliano 3061
                 San Isidro, Buenos Aires, B1642GLA, Argentina                    Research License
                                                                                  Agreement                  08/10/2020
Yield10                                                                                                                   $0
Bioscience,                                                                       2023-24 Field Experiment
Inc.             Mackenzie Applied Research Association (MARA)                    Plan                       09/08/2023
Yield10                                                                                                                   $0
Bioscience,                                                                       2023-24 Field Experiment
Inc.             Mackenzie Applied Research Association (MARA)                    Plan                       09/08/2023
Yield10          Mackenzie Applied Research Association (MARA)                                                            $0
Bioscience,      Sampath Walgama, Manager
Inc.             5901 River Road, PO Box 646, Fort Vermilion, AB T0H 1NO,
                 Canada                                                           Master Services
                 manager@mackenzieresearch.ca                                     Agreement                  09/08/2023
Yield10          Minister of Agriculture and Agri-Food (AAFC)                                                             $0
Bioscience,      Minister of Agriculture and Agri-Food (AAFC)                     Collaborative Research
Inc.             Keith Hanson,                                                    And Development            01/27/2017
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Debtor Entity                            Counterparty                         Contracts Description                  Cure Amount
                keith.hanson@agr.gc.ca                                       Agreement Amendment
                                                                             No. 1
Yield10         Mortenson Farm Partners                                                                             $0
Bioscience,     Steve Mortenson
Inc.            14018 48th Street NW                                         Yield10 Camelina
                Williston, ND 58801                                          Stewardship Management
                56smort@gmail.com                                            Program                   04/29/2024
Yield10         Rakochy Farms                                                                                       $0
Bioscience,     Lauren Rakochy
Inc.            c/o Lauren Rakochy
                117-425 115th Street East                                    Camelina Sativa (Winter
                Saskatoon, SK S7N2E5                                         Type) Non-Regulated
                l.rakochy@outlook.com                                        Seed Increase             09/07/2021
Yield10         Regents of the University of Minnesota                                                              $0
Bioscience,     Colin Cureton
Inc.            Director of Adoption and Scaling
                Forever Green Initiative
                University of Minnesota                                      Confirmation of Seed
                Cure0012@umn.edu                                             Destruction               07/12/2024
Yield10         Research Designed for Agriculture (RD4AG)                                                           $0
Bioscience,     AgraServ, LLC
Inc.            Steve Bergsten
                AgraServ, LLC
                2565 Freedom Lane
                American Falls, ID 83211
                www.agraserv.com                                             Work Agreement            04/23/2018
Yield10                                                                                                             $0
Bioscience,                                                                  RNA-Sequencing Project
Inc.            Rothamsted Research Limited                                  SOW                       07/05/2021
Yield10                                                                      Seed Production And                    $0
Bioscience,                                                                  Processing Services
Inc.            S&W Seed Company                                             Agreement                 04/20/2021
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 Debtor Entity                             Counterparty                               Contracts Description                   Cure Amount
Yield10          SGS North America Inc                                                                                      $0
Bioscience,      Amanda, ver Helst201 Route 17 North, 7th Floor, Rutherfor, NJ      Master Services
Inc.             07070, USA                                                         Agreement                  09/20/2022
Yield10                                                                                                                     $0
Bioscience,                                                                         Work Order | 2022-23
Inc.             SGS North America Inc                                              Field Experiment Plan      09/15/2022
Yield10          South Dakota State University                                                                              $0
Bioscience,      Christopher Graham, Associate Professor
Inc.                                                                                Master Services
                 christopher.graham@sdstate.edu
                                                                                    Agreement                  08/26/2022
Yield10                                                                                                                     $0
Bioscience,                                                                         Work Order | 2022-23
Inc.             South Dakota State University                                      Field Experiment Plan      08/31/2022
Yield10                                                                                                                     $0
Bioscience,                                                                         2022 Field Experiment
Inc.             South East Research Farm (SERF)                                    Plan - Camelina            05/04/2022
Yield10                                                                                                                     $0
Bioscience,                                                                         2023-24 Field Experiment
Inc.             South East Research Farm (SERF)                                    Plan                       08/28/2023
Yield10          South East Research Farm (SERF)                                                                            $0
Bioscience,      SouthEast Research Farm (SERF)
Inc.             Box 129 Redvers, SK S0C 2HO, Canada
                 Lana Shaw, Executive Director                                      Master Services
                 Lshaw.serf@gmail.com                                               Agreement                  08/19/2022
Yield10                                                                                                                     $0
Bioscience,                                                                         Work Order | 2022-23
Inc.             South East Research Farm (SERF)                                    Field Experiment Plan      09/01/2022
Yield10          The Broad Institute, Inc.                                                                                  $0
Bioscience,      Alba Miranda-Ribera, Ph.D. / Licensing Associate /
Inc.             Office of Strategic Alliances and Partnering
                 Broad Institute of MIT and Harvard / 75 Ames Street / Cambridge,
                 MA 02142                                                           License Side Letter        04/04/2024
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 Debtor Entity                             Counterparty                              Contracts Description                  Cure Amount
Yield10                                                                                                                   $0
Bioscience,      Wellington Agricultural Research Ltd.
Inc.             Jamie Parnell, President                                          2019 PNT Soybean Trials   04/26/2019
Yield10                                                                                                                   $0
Bioscience,                                                                        2021 Camelina
Inc.             Wellington Agricultural Research Ltd.                             Germplasm Evaluation      06/21/2021
Yield10          Westman Agricultural Diversification Organization (WADO)                                                 $0
Bioscience,      Scott Chalmers, Applied Research Specialist                       Master Services
Inc.             139 Main St., Melita, MB R0M 1L0, Canada                          Agreement                 09/07/2022
